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                           6
                                   Counsel for E. Lynn Schoenmann,
                               7   Chapter 7 Trustee

                               8                               UNITED STATES BANKRUPTCY COURT

                               9                               NORTHERN DISTRICT OF CALIFORNIA

                          10                                           SAN FRANCISCO DIVISION

,...                      11       In re:                                                     Case No.: 18-30002 (DM)
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 "'"1z                    12       MARJYA SERGEEVNA RUCHKA                                    Chapter 7
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dlJ                       13                                                                  STIPULATION EXTENDING
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                 u                                                Debtor.                     DEADLINE TO OBJECT TO
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                          14                                                                  DEBTOR'S DISCHARGE
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,...<                                       Counsel for E. Lynn Shoenmann, the duly appointed trustee (the ..Trustee") in the above-
                          17
                                   captioned chapter 7 case of and Mariya Sergeevna Ruchka (the "Debtor"), by and through their
                          18
                                   counsel, hereby stipulate and agree, as follows:
                          19
                                                                                       I.
                          20
                                                                                 RECITALS
                          21
                                            1.      The Debtor filed a voluntary chapter 11 petition in this Court on January 2, 2018. On
                          22
                                   September 26, 2018 this Court entered an Order converting Debtor's case from one under Chapter
                          23
                                   11 to one under Chapter 7 and appointed E. Lynn Shoenmann as the chapter 7 trustee.
                          24
                                            2.      The 341 meeting of creditors was scheduled to take place on October 23, 2018.
                          25
                                   Pursuant to Rule 4004 of the Federal Rules of Bankruptcy Procedure, the deadline to file a complaint
                          26
                                   objecting to a debtor's discharge is no later than 60 days after the first date set for the meeting of
                          27
                                   creditors. In this case, the deadline to file such a complaint is December 24, 2018.
                          28


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           1            3.      The Trustee is still investigating whether grounds exist to object to discharge and is

           2   awaiting responses to requests for information from the Debtor.

           3                                                      II.

           4                                               STIPULATION

           5            WHEREFORE the Debtor and Trustee hereby stipulate that:

           6            1.      The deadline for the Trustee to object to the Debtor's discharge under 11 U.S.C.

           7   Section 727 is hereby extended to February 22, 2019.

           8

           9   Dated: December l_, 2018                        LAW OFFICES OF JAMES HAWORTH


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                                                                        (;ounsel to Mariya Ruchka, Debtor
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                                                                   Counsel to E. Lynn Schoenmann,
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